              Case 23-02057-CL7                   Filed 07/18/23           Entered 07/18/23 16:55:40                  Doc 1        Pg. 1 of 41


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF CALIFORNIA REVISED PLAN 6/2016

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Bindle Bottle LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2532 La Costa Ave.                                              P.O. Box 231429
                                  Carlsbad, CA 92009                                              Encinitas, CA 92023
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Diego                                                       Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  5931 Sea Lion Place, Ste. 110 Carlsbad, CA 92010
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 23-02057-CL7                     Filed 07/18/23            Entered 07/18/23 16:55:40                         Doc 1     Pg. 2 of 41

Debtor    Bindle Bottle LLC                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4239

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
               Case 23-02057-CL7                        Filed 07/18/23             Entered 07/18/23 16:55:40                       Doc 1      Pg. 3 of 41

Debtor    Bindle Bottle LLC                                                                               Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)

                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                                                The property that could be harmful is the lead solder in the storage area
                                                                                of the bottle. Debtor issued a voluntary recall in February 2023 due to this
                                                                                potential threat. Debtor currently has a fix to retrofit each bottle and was
                                                                                recently granted FDA approval for the fix to eliminate any lead exposure
                                                      What is the hazard?       on the products.
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                                                     5931 Sea Lion Place, Ste. 110
                                                    Where is the property?           Carlsbad, CA, 92010-0000
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?

                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                                                                            $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
             Case 23-02057-CL7          Filed 07/18/23         Entered 07/18/23 16:55:40                     Doc 1   Pg. 4 of 41

Debtor   Bindle Bottle LLC                                                          Case number (if known)
         Name

                             $50,001 - $100,000                         $50,000,001 - $100 million              $10,000,000,001 - $50 billion
                             $100,001 - $500,000                        $100,000,001 - $500 million             More than $50 billion
                             $500,001 - $1 million

16. Estimated liabilities    $0 - $50,000                               $1,000,001 - $10 million                $500,000,001 - $1 billion
                             $50,001 - $100,000                         $10,000,001 - $50 million               $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million              $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million             More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 4
              Case 23-02057-CL7                 Filed 07/18/23             Entered 07/18/23 16:55:40                        Doc 1    Pg. 5 of 41

Debtor    Bindle Bottle LLC                                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 18, 2023
                                                  MM / DD / YYYY


                             X   /s/ Houston Buehrle                                                      Houston Buehrle
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Member




18. Signature of attorney    X   /s/ Ahren A. Tiller                                                       Date July 18, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ahren A. Tiller 250608
                                 Printed name

                                 Bankruptcy Law Center
                                 Firm name

                                 1230 Columbia St., Suite 1100
                                 San Diego, CA 92101
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     619-894-8831                  Email address


                                 250608 CA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
          Case 23-02057-CL7                  Filed 07/18/23             Entered 07/18/23 16:55:40                 Doc 1        Pg. 6 of 41




Fill in this information to identify the case:

Debtor name         Bindle Bottle LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF CALIFORNIA REVISED PLAN 6/2016

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       July 18, 2023                   X /s/ Houston Buehrle
                                                           Signature of individual signing on behalf of debtor

                                                            Houston Buehrle
                                                            Printed name

                                                            Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
             Case 23-02057-CL7                                    Filed 07/18/23                        Entered 07/18/23 16:55:40                                           Doc 1       Pg. 7 of 41

 Fill in this information to identify the case:

 Debtor name            Bindle Bottle LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF CALIFORNIA REVISED PLAN 6/2016

 Case number (if known)
                                                                                                                                                                                        Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $            38,753.91

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $            38,753.91


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $           677,008.29


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                219.33

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        1,715,045.78


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $           2,392,273.40




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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           Case 23-02057-CL7                Filed 07/18/23        Entered 07/18/23 16:55:40                 Doc 1           Pg. 8 of 41

Fill in this information to identify the case:

Debtor name       Bindle Bottle LLC

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF CALIFORNIA REVISED PLAN 6/2016

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest
2.        Cash on hand                                                                                                                    $1,859.00



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                   Last 4 digits of account
                                                                                                 number


          3.1.   Bank of Southern California                     Checking                        8618                                     $3,825.93


                 Paypal Account

          3.2.   (Negative (-)98,27)                                                             Y5XU                                             $0.00




          3.3.   Amazon CA                                       Clearing Account                                                                 $0.00




          3.4.   Amazon US                                       Clearing Account                                                                 $0.00




          3.5.   Paypal                                          Clearing Account                                                           $113.98



4.        Other cash equivalents (Identify all)



Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                                                page 1
          Case 23-02057-CL7                   Filed 07/18/23           Entered 07/18/23 16:55:40                    Doc 1    Pg. 9 of 41


Debtor           Bindle Bottle LLC                                                          Case number (If known)
                 Name


5.        Total of Part 1.                                                                                                            $5,798.91
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit
                   50% deposit down for new Bindle Bottle tooling

          7.1.     ($21,750 Paid to Manufacturing Inc., however very little if any reasaleable value).                                   Unknown



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                                 $0.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                      8,356.00      -                                   0.00 = ....                   $8,356.00
                                       face amount                            doubtful or uncollectible accounts



          11a. 90 days old or less:                     60,225.82      -                             60,225.82 = ....                         $0.00
                                       face amount                            doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                            $8,356.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used    Current value of
                                             physical inventory            debtor's interest         for current value        debtor's interest
                                                                           (Where available)

19.       Raw materials

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 2
          Case 23-02057-CL7                 Filed 07/18/23         Entered 07/18/23 16:55:40                 Doc 1     Pg. 10 of 41


Debtor       Bindle Bottle LLC                                                       Case number (If known)
             Name



20.       Work in progress

21.       Finished goods, including goods held for resale
          Inventory consisting of
          the bottles sold,
          packaging, .

          $833,899.98 in Costs -
          but very minimal if any
          resaleable value due to
          class action / design
          defect (lead) issue.              3/28/2023                              $0.00       Recent cost                              $0.00



22.       Other inventory or supplies
          Wholesale Displays

          ($35,296.40 in costs.
          However, all no useable
          due to showing raw food
          coming out of storage of
          bottle, which the
          company cannot
          advertise).                                                              $0.00       Recent cost                         Unknown




23.       Total of Part 5.                                                                                                           $0.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used    Current value of
                                                                     debtor's interest         for current value        debtor's interest
                                                                     (Where available)

39.       Office furniture


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                     page 3
          Case 23-02057-CL7                  Filed 07/18/23            Entered 07/18/23 16:55:40                  Doc 1     Pg. 11 of 41


Debtor       Bindle Bottle LLC                                                              Case number (If known)
             Name

40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Computers and monitors.                                                         $0.00     Liquidation                         $3,706.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                              $3,706.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used    Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value        debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    2018 Ford Transit Connect
                   Cargo Van XL LWB w/Rear 180 Degree
                   Door
                   90,000 miles                                                           $0.00     N/A                                $15,128.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Production Tooling

          $29,650 in costs - however very minial if any
          reasaleable value.                                                              $0.00                                         Unknown




51.       Total of Part 8.                                                                                                         $15,128.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 4
           Case 23-02057-CL7                 Filed 07/18/23         Entered 07/18/23 16:55:40                 Doc 1     Pg. 12 of 41


Debtor        Bindle Bottle LLC                                                        Case number (If known)
              Name



53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                        Net book value of         Valuation method used     Current value of
                                                                      debtor's interest         for current value         debtor's interest
                                                                      (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           United States Patent
           Portable Canteen with Storage Departments
           Patent No.: US 10,427,825 B2
           Date of Patent: Oct. 1, 2019                                              $0.00                                            Unknown


           United States Design Patent
           Flexible Fabric Sleeve for Bottle
           Patent No.: US D955,887 S
           Date of Patent: Jun. 28, 2022                                             $0.00                                            Unknown


           Trademark                                                                 $0.00                                            Unknown



61.        Internet domain names and websites
           Business website
           https://bindlebottle.com/                                                 $0.00                                            Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           80,000 customers on email list                                            $0.00                                            Unknown



64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 5
           Case 23-02057-CL7                 Filed 07/18/23           Entered 07/18/23 16:55:40                 Doc 1   Pg. 13 of 41


Debtor        Bindle Bottle LLC                                                            Case number (If known)
              Name


              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                         Current value of
                                                                                                                         debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
           Claims for Breach of Contract against Betty Miranda,
           LLC and Daniel Sachs.
           *(Misrepresentation, Fraud, and breach of fiduciary duty
           against Betty Miranda, LLC).                                                                                             Unknown
           Nature of claim         Claims for Production Liability
           Amount requested                             $0.00



76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Startup Costs: 10,232.00
           less accumulated amortization: -4467                                                                                     $5,765.00




78.        Total of Part 11.                                                                                                      $5,765.00
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
              Yes




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                    page 6
           Case 23-02057-CL7                            Filed 07/18/23                   Entered 07/18/23 16:55:40                           Doc 1      Pg. 14 of 41


Debtor          Bindle Bottle LLC                                                                                   Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $5,798.91

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                       $8,356.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $3,706.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $15,128.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                    $5,765.00

91. Total. Add lines 80 through 90 for each column                                                              $38,753.91          + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $38,753.91




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 7
          Case 23-02057-CL7                        Filed 07/18/23              Entered 07/18/23 16:55:40                    Doc 1          Pg. 15 of 41

Fill in this information to identify the case:

Debtor name         Bindle Bottle LLC

United States Bankruptcy Court for the:           SOUTHERN DISTRICT OF CALIFORNIA REVISED PLAN 6/2016

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
      Bank of Southern
2.1                                                                                                                     $250,000.00                       $0.00
      California                                   Describe debtor's property that is subject to a lien
      Creditor's Name                              Inventory consisting of the bottles sold,
                                                   packaging, .

                                                   $833,899.98 in Costs - but very minimal if any
      12265 El Camino Real, Ste.                   resaleable value due to class action / design
      100                                          defect (lead) issue.
      San Diego, CA 92130
      Creditor's mailing address                   Describe the lien
                                                   UCC Lien
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      9/9/2020                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9220
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.
      1. Bank of Southern
      California
      2. Bank of Southern
      California
      3. Small Business
      Administration
      4. Shopify Capital

      Bank of Southern
2.2                                                Describe debtor's property that is subject to a lien                 $200,000.00                       $0.00
      California




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
         Case 23-02057-CL7                       Filed 07/18/23               Entered 07/18/23 16:55:40                     Doc 1        Pg. 16 of 41

Debtor      Bindle Bottle LLC                                                                     Case number (if known)
            Name

      Creditor's Name                             Inventory consisting of the bottles sold,
                                                  packaging, .

                                                  $833,899.98 in Costs - but very minimal if any
      12265 El Camino Real, Ste.                  resaleable value due to class action / design
      100                                         defect (lead) issue.
      San Diego, CA 92130
      Creditor's mailing address                  Describe the lien
                                                  Secured Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      6/2021                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9230
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.1

2.3   Shopify Capital                             Describe debtor's property that is subject to a lien                      $37,008.29             $0.00
      Creditor's Name                             Inventory consisting of the bottles sold,
                                                  packaging, .

                                                  $833,899.98 in Costs - but very minimal if any
      33 New Montgomery St.,                      resaleable value due to class action / design
      #750                                        defect (lead) issue.
      San Francisco, CA 94105
      Creditor's mailing address                  Describe the lien
                                                  Secured Installment Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/2/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.1

      Small Business
2.4                                                                                                                        $190,000.00             $0.00
      Administration                              Describe debtor's property that is subject to a lien
      Creditor's Name                             Inventory consisting of the bottles sold,
                                                  packaging, .

                                                  $833,899.98 in Costs - but very minimal if any
      1545 Hawkins Blvd. Ste.                     resaleable value due to class action / design
      202                                         defect (lead) issue.
      El Paso, TX 79925
      Creditor's mailing address                  Describe the lien


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 2 of 3
          Case 23-02057-CL7                      Filed 07/18/23               Entered 07/18/23 16:55:40                     Doc 1        Pg. 17 of 41

Debtor      Bindle Bottle LLC                                                                     Case number (if known)
            Name

                                                  UCC Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      8/31/2020                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8201
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.1

3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $677,008.29

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       Corporation Service Company
       801 Adlai Stevenson Dr.                                                                              Line   2.4
       Springfield, IL 62703

       Shopify
       151 O'Connor ST., Ground Floor                                                                       Line   2.3
       Ottowa
       ONTARIO K2P 2L8




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
           Case 23-02057-CL7                     Filed 07/18/23               Entered 07/18/23 16:55:40                       Doc 1         Pg. 18 of 41

Fill in this information to identify the case:

Debtor name        Bindle Bottle LLC

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF CALIFORNIA REVISED PLAN 6/2016

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $3.83      $3.83
          California Dept of Tax and Fee                      Check all that apply.
          P.O. Box 942879                                        Contingent
          Sacramento, CA 94279                                   Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Administration fee
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                               $209.51         $209.51
          California Dept of Tax and Fee                      Check all that apply.
          P.O. Box 942879                                        Contingent
          Sacramento, CA 94279                                   Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              sales tax
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 3
                                                                                                              39603
          Case 23-02057-CL7                      Filed 07/18/23                Entered 07/18/23 16:55:40                             Doc 1         Pg. 19 of 41

Debtor       Bindle Bottle LLC                                                                          Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $5.99    $5.99
          Florida Dept of Revenue                              Check all that apply.
          2450 Shumard Oak Blvd                                   Contingent
          Tallahassee, FL 32399                                   Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               taxes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $38,361.10
          American Express                                                       Contingent
          PO Box 981537                                                          Unliquidated
          El Paso, TX 79998-1535                                                 Disputed
          Date(s) debt was incurred 2/2020-5/2023
                                                                             Basis for the claim:     Credit Card Purchases
          Last 4 digits of account number 1003
                                                                             Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,532.42
          Apple Card-GS Bank                                                     Contingent
          11850 S. Election Rd.                                                  Unliquidated
          Draper, UT 84020                                                       Disputed
          Date(s) debt was incurred 7/2022
                                                                             Basis for the claim:     Credit Card Purchases
          Last 4 digits of account number 0062
                                                                             Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $107,151.75
          Betty Miranda LLC                                                      Contingent
          5931 Sea Lion Place, Ste. 110                                          Unliquidated
          Carlsbad, CA 92010                                                     Disputed
          Date(s) debt was incurred 2017-2022
                                                                             Basis for the claim:     Accounts payable
          Last 4 digits of account number n/a
                                                                             Is the claim subject to offset?     No       Yes

3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Corporation Services Company                                           Contingent
          P.O. Box 2576                                                          Unliquidated
          Springfield, IL 62708                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:     notice only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.5       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,205,198.35
          Dane Chapin                                                            Contingent
          2532 La Costa Ave.                                                     Unliquidated
          Carlsbad, CA 92009                                                     Disputed
          Date(s) debt was incurred  2017-2023                               Basis for the claim:     Note payable
          Last 4 digits of account number n/a
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 3
          Case 23-02057-CL7                      Filed 07/18/23              Entered 07/18/23 16:55:40                             Doc 1         Pg. 20 of 41

Debtor       Bindle Bottle LLC                                                                      Case number (if known)
             Name

3.6       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,500.00
          Hub Spot                                                            Contingent
          2 Canal Park                                                        Unliquidated
          Cambridge, MA 02141                                                 Disputed
          Date(s) debt was incurred 10/2022
                                                                           Basis for the claim:    Subscription for Relationship Management / CRM
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.7       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $4,885.50
          Innovative Marketing Solution                                       Contingent
          1320 N. Plus Grove Rd.                                              Unliquidated
          Schaumburg, IL 60173                                                Disputed
          Date(s) debt was incurred 4/2022
                                                                           Basis for the claim:    Vendor
          Last 4 digits of account number n/a
                                                                           Is the claim subject to offset?       No     Yes

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Jennifer Mikalacki                                                  Contingent
          c/o Sean L. Litteral, Esq.                                          Unliquidated
          30301 Coolidge Ave.                                                 Disputed
          Oakland, CA 94602
                                                                           Basis for the claim:    Civil Suit - Class action
          Date(s) debt was incurred 2023
          Last 4 digits of account number   81VC                           Is the claim subject to offset?       No     Yes


3.9       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Jennifer Mikalacki                                                  Contingent
          c/o Yeremy O. Krivoshey, Esq                                        Unliquidated
          1990 N. California Blvd., Ste.                                      Disputed
          Walnut Creek, CA 94596
                                                                                            Civil Suit
                                                                           Basis for the claim:
          Date(s) debt was incurred 2023
                                                                           additional notice only
          Last 4 digits of account number 81VC
                                                                           Is the claim subject to offset?       No     Yes

3.10      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $356,416.66
          Mason Brutschy                                                      Contingent
          P.O. Box 755                                                        Unliquidated
          Menlo Park, CA 94026                                                Disputed
          Date(s) debt was incurred 1/3/2023
                                                                           Basis for the claim:    loan
          Last 4 digits of account number n/a
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                          219.33
5b. Total claims from Part 2                                                                           5b.   +    $                    1,715,045.78

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        1,715,265.11



Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 3
          Case 23-02057-CL7                  Filed 07/18/23            Entered 07/18/23 16:55:40                     Doc 1        Pg. 21 of 41

Fill in this information to identify the case:

Debtor name       Bindle Bottle LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF CALIFORNIA REVISED PLAN 6/2016

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
         Case 23-02057-CL7                 Filed 07/18/23           Entered 07/18/23 16:55:40                   Doc 1        Pg. 22 of 41

Fill in this information to identify the case:

Debtor name      Bindle Bottle LLC

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF CALIFORNIA REVISED PLAN 6/2016

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Dane Chapin                 2532 La Costa Ave.                                        Bank of Southern                   D   2.1
                                      Carlsbad, CA 92009                                        California                         E/F
                                                                                                                                   G




   2.2    Dane Chapin                 2532 La Costa Ave.                                        Bank of Southern                   D   2.2
                                      Carlsbad, CA 92009                                        California                         E/F
                                                                                                                                   G




   2.3    Dane Chapin                 2532 La Costa Ave.                                        American Express                   D
                                      Carlsbad, CA 92009                                                                           E/F       3.1
                                                                                                                                   G




   2.4    Houston Buehrle             7049 Almaden Lane                                         Bank of Southern                   D   2.1
                                      Carlsbad, CA 92009                                        California                         E/F
                                                                                                                                   G




   2.5    Houston Buehrle             7049 Almaden Lane                                         Bank of Southern                   D   2.2
                                      Carlsbad, CA 92009                                        California                         E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
         Case 23-02057-CL7             Filed 07/18/23         Entered 07/18/23 16:55:40                    Doc 1   Pg. 23 of 41

Debtor    Bindle Bottle LLC                                                       Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Houston Buehrle          7049 Almaden Lane                                   American Express                   D
                                   Carlsbad, CA 92009                                                                     E/F   3.1
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
          Case 23-02057-CL7                 Filed 07/18/23            Entered 07/18/23 16:55:40                       Doc 1      Pg. 24 of 41




Fill in this information to identify the case:

Debtor name         Bindle Bottle LLC

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF CALIFORNIA REVISED PLAN 6/2016

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                 $93,579.36
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $2,117,652.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                             $2,248,931.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
          Case 23-02057-CL7                  Filed 07/18/23            Entered 07/18/23 16:55:40                         Doc 1        Pg. 25 of 41

Debtor       Bindle Bottle LLC                                                                  Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              American Express                                     5/8/2023 -                       $33,279.92                Secured debt
              PO Box 981537                                        33,279.92                                                  Unsecured loan repayments
              El Paso, TX 79998-1535                                                                                          Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other Credit card payment


      3.2.
              Bank of Southern California                          7/7/23;                          $11,812.50                Secured debt
              12265 El Camino Real, Ste. 100                       7/10/23;                                                   Unsecured loan repayments
              San Diego, CA 92130                                  6/10/23;
                                                                                                                              Suppliers or vendors
                                                                   6/7/23;
                                                                                                                              Services
                                                                   5/10/23;
                                                                   5/7/23                                                     Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    Dane Chapin                                          11/8/2022 -                     $200,000.00           loan repayments / capital
              2532 La Costa Ave.                                   $25,000                                               infusions for new value.
              Carlsbad, CA 92009                                   12/19/2022 -
              Member                                               $25,000
                                                                   1/3/2023 -
                                                                   $150,000

                                                                   New Value
                                                                   added during
                                                                   time period
                                                                   $185,000

      4.2.    Houston Buehrle                                      3/31/2023 -                      $25,191.51           Expense Reimbursements
              7049 Almaden Lane                                    2170                                                  during ordinary course of
              Carlsbad, CA 92009                                   2/28/2023-                                            business.
              41% owner                                            2170
                                                                   1/27/2023-66
                                                                   03.24
                                                                   12/27/2022-3
                                                                   500.28
                                                                   11/1/2022-21
                                                                   70
                                                                   10/4/2022-27
                                                                   91.45
                                                                   8/31/2022-57
                                                                   86.54

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

         None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
          Case 23-02057-CL7                  Filed 07/18/23             Entered 07/18/23 16:55:40                        Doc 1      Pg. 26 of 41

Debtor       Bindle Bottle LLC                                                                    Case number (if known)



6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case               Court or agency's name and               Status of case
              Case number                                                           address
      7.1.    Jennifer Mikalacki v. Bindle             Civil                        United States District Court                 Pending
              Bottle                                                                California Northern District                 On appeal
              3:23-cv-00881-VC                                                      450 Golden Gate Ave.
                                                                                                                                 Concluded
                                                                                    San Francisco, CA 94102


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address             Description of the gifts or contributions                  Dates given                            Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss              Value of property
      how the loss occurred                                                                                                                               lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3
           Case 23-02057-CL7                     Filed 07/18/23         Entered 07/18/23 16:55:40                       Doc 1       Pg. 27 of 41

Debtor        Bindle Bottle LLC                                                                  Case number (if known)



                Who was paid or who received              If not money, describe any property transferred               Dates               Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.                                               Attorney Fees for Pre-Bankruptcy
                Bankruptcy Law Center                     Planning as well as Bankruptcy Petition
                1230 Columbia St., Suite 1100             Prepation, Corporate Resolution, and
                San Diego, CA 92101                       advisement.                                                   6/6/2023                 $20,000.00

                Email or website address
                bankruptcyattorneys.org

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services                If debtor provides meals
                                                       the debtor provides                                                         and housing, number of
                                                                                                                                   patients in debtor’s care

Part 9:       Personally Identifiable Information




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
           Case 23-02057-CL7                  Filed 07/18/23             Entered 07/18/23 16:55:40                      Doc 1        Pg. 28 of 41

Debtor      Bindle Bottle LLC                                                                    Case number (if known)



16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                 Collects email addresses, payment information, shipping and billing
                 addresses for DTC and wholesale customers
                 Does the debtor have a privacy policy about that information?
                   No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      Betty Miranda LLC                                      Dan Sachs                             All inventory owed by Bindle                   No
      5931 Sea Lion Place, Ste. 110                          5931 Sea Lion Place, Ste.             Bottle LLC                                     Yes
      Carlsbad, CA 92010                                     110
                                                             Carlsbad, CA 92010

      Public Storage                                         Houston Max                           Office supplies, inventory                     No
      6211 Corte Del Abeto                                   Charlie Crisan                        value: $5,000                                  Yes
      Carlsbad, CA 92011                                     Victoriana Gonzalez
                                                             5999 Avenida Encinas,
                                                             Ste. 150
                                                             Carlsbad, CA 92008


Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 5
           Case 23-02057-CL7                 Filed 07/18/23            Entered 07/18/23 16:55:40                       Doc 1          Pg. 29 of 41

Debtor      Bindle Bottle LLC                                                                   Case number (if known)




Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6
          Case 23-02057-CL7                  Filed 07/18/23             Entered 07/18/23 16:55:40                      Doc 1       Pg. 30 of 41

Debtor      Bindle Bottle LLC                                                                   Case number (if known)



      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Jason Lundberg                                                                                                  2020-2023
                    Financial Clarity


    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.1.        Shawn Devries, CPA                                                                                              2017-2023
                    Matranga & Co.
                    6255 Lusk Blvd., Ste. 150
                    San Diego, CA 92121

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Shawn Devries, CPA
                    Matranga & Co.
                    6255 Lusk Blvd., Ste. 150
                    San Diego, CA 92121

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Shawn Devries, CPA
                    Matranga & Co.
                    6255 Lusk Blvd., Ste. 150
                    San Diego, CA 92121
      26d.2.        Bank of Southern California
                    12265 El Camino Real, Ste. 100
                    San Diego, CA 92130

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                   Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory
      27.1 Houston Max                                                                                       $883,899.98
      .                                                                              3/28/2023               Cost basis

               Name and address of the person who has possession of
               inventory records
               Houston Max
               5999 Avenida Encinas, Ste. 150
               Carlsbad, CA 92008




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 7
          Case 23-02057-CL7                 Filed 07/18/23            Entered 07/18/23 16:55:40                       Doc 1     Pg. 31 of 41

Debtor      Bindle Bottle LLC                                                                  Case number (if known)



             Name of the person who supervised the taking of the                    Date of inventory       The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory
      27.2 Houston Max                                                                                      $843,507.90
      .                                                                             1/18/2023               Cost basis

             Name and address of the person who has possession of
             inventory records
             Houston Max
             5000 Avenida Encinas, Ste. 150
             Carlsbad, CA 92008


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Houston Max                            5999 Avenida Encinas, Ste. 150                      Member                                  41%
                                             Carlsbad, CA 92009

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Charles Crisan                         5999 Avenida Encinas, Ste. 150                      General Partner                         10%
                                             Carlsbad, CA 92009

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Dane Chapin                            5999 Avenida Encinas, Ste. 150                      Member                                  42%
                                             Carlsbad, CA 92009

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Victoriana Gonzalez                    5999 Avenida Encinas, Ste. 150                      General Partner                         1%
                                             Carlsbad, CA 92009

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      John Eyler                             5999 Avenida Encinas, Ste. 150                      General Partner                         5%
                                             Carlsbad, CA 92009

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Brad Chapin                            5999 Avenida Encinas, Ste. 150                      General Partner                         1%
                                             Carlsbad, CA 92009



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 8
           Case 23-02057-CL7                 Filed 07/18/23            Entered 07/18/23 16:55:40                       Doc 1    Pg. 32 of 41

Debtor      Bindle Bottle LLC                                                                   Case number (if known)



31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         July 18, 2023

/s/ Houston Buehrle                                             Houston Buehrle
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
        Case 23-02057-CL7             Filed 07/18/23          Entered 07/18/23 16:55:40   Doc 1   Pg. 33 of 41




Revised: 1/24/13
Name, Address, Telephone No. & I.D. No.
Ahren A. Tiller 250608
1230 Columbia St., Suite 1100
San Diego, CA 92101
619-894-8831
250608 CA

              UNITED STATES BANKRUPTCY COURT
                 SOUTHERN DISTRICT OF CALIFORNIA
             325 West "F" Street, San Diego, California 92101-6991


In Re
Bindle Bottle LLC                                                          BANKRUPTCY NO.
Tax I.D. / S.S. #: XX-XXXXXXX
                                                        Debtor.



                               UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF CALIFORNIA REVISED PLAN 6/2016
                       RIGHTS AND RESPONSIBILITIES OF CHAPTER 7 DEBTORS
                                     AND THEIR ATTORNEY
In order for debtors and their attorneys to understand their rights and responsibilities in the bankruptcy process,
the following terms of engagement are hereby agreed to by the parties.

Nothing in this agreement should be construed to excuse an attorney from any ethical duties or responsibilities
under Federal Rule of Bankruptcy Procedure 9011 and the Local Bankruptcy Rules.

                                                        I.
                                  Services Included in the Initial Fee Charged
The following are services that an attorney must provide as part of the initial fee charged for representation in a
Chapter 7 case:
1.      Meet with the debtor to review the debtor’s assets, liabilities, income and expenses.
2.      Analyze the debtor’s financial situation, and render advice to the debtor in determining whether to file a
        petition in bankruptcy.
3.      Describe the purpose, benefits, and costs of the Chapters the debtor may file, counsel the debtor
        regarding the advisability of filing either a Chapter 7, 11, or 13 case, and answer the debtor’s questions.
4.      Advise the debtor of the requirement to attend the Section 341(a) Meeting of Creditors, and instruct the
        debtor as to the date, time and place of the meeting.
5.      Advise the debtor of the necessity of maintaining liability, collision and comprehensive insurance on
        vehicles securing loans or leases.
      Case 23-02057-CL7         Filed 07/18/23     Entered 07/18/23 16:55:40        Doc 1     Pg. 34 of 41




6.     Timely prepare, file and serve, as required, the debtor's petition, schedules, Statement of Financial
       Affairs, and any necessary amendments to Schedule C.
7.     Provide documents pursuant to the Trustee Guidelines and any other information requested by the
       Chapter 7 Trustee or the Office of the United State Trustee.
8.     Provide an executed copy of the Rights and Responsibilities of Chapter 7 Debtors and their Attorneys to
       the debtor.
9.     Appear and represent the debtor at the Section 341(a) Meeting of Creditors, and any continued meeting,
       except as further set out in Section II.
10.    File the Certificate of Debtor Education if completed by the debtor and provided to the attorney before
       the case is closed.
11.    Attorney shall have a continuing obligation to assist the debtor by returning telephone calls, answering
       questions and reviewing and sending correspondence.
12.    Respond to and defend objections to claim(s) of exemption arising from attorney error(s) in Schedule C.

                                                II.
                      Services Included as Part of Chapter 7 Representation,
                                   Subject to an Additional Fee
The following are services, included as part of the representation of the debtor, but for which the attorney may
charge additional fees.
1.     Representation at any continued meeting of creditors due to client’s failure to appear or failure to
       provide required documents or acceptable identification;
2.     Amendments, except that no fee shall be charged for any amendment to Schedule C that may be
       required as a result of attorney error;
3.     Opposing Motions for Relief from Stay;
4.     Reaffirmation Agreements and hearings on Reaffirmation Agreements;
5.     Redemption Motions and hearings on Redemption Motions;
6.     Preparing, filing, or objecting to Proofs of Claims, when appropriate, and if applicable;
7.     Representation in a Motion to Dismiss or Convert debtor’s case;
8.     Motions to Reinstate or Extend the Automatic Stay;
9.     Negotiations with Chapter 7 Trustee in aid of resolving nonexempt asset, turnover or asset
       administration issues.

                                                        2
      Case 23-02057-CL7         Filed 07/18/23     Entered 07/18/23 16:55:40        Doc 1    Pg. 35 of 41




                                             III.
           Additional Services Not Included in the Initial Fee Which Will Require a
                                   Separate Fee Agreement
The following services are not included as part of the representation in a Chapter 7 case, unless the attorney and
debtor negotiate representation in these post-filing matters at mutually agreed upon terms in advance of any
obligation of the attorney to render services. Unless a new fee agreement is negotiated between debtor and
attorney, attorney will not be required to represent the debtor in these matters:
1.     Defense of Complaint to Determine Non-Dischargeability of a Debt or filing Complaint to determine
       Dischargeability of Debt;
2.     Defense of a Complaint objecting to discharge;
3.     Objections to Claim of Exemption, except where an objection arises due to an error on Schedule C;
4.     Sheriff levy releases;
5.     Section 522(f) Lien Avoidance Motions;
6.     Opposing a request for, or appearing at a 2004 examination;
7.     All other Motions or Applications in the case, including to Buy, Sell, or Refinance Real or other
       Property;
8.     Motions or other proceedings to enforce the automatic stay or discharge injunction;
9.     Filing or responding to an appeal;
10.    An audit of the debtor's case conducted by a contract auditor pursuant to 28 U.S.C. Section 586(f).

                                                 IV.
                                Duties and Responsibilities of the Debtor
As the debtor filing for a Chapter 7 bankruptcy, you must:
1.     Fully disclose everything you own, lease, or otherwise believe you have a right or interest in prior to
       filing the case;
2.     List everyone to whom you owe money, including your friends, relatives or someone you want to repay
       after the bankruptcy is filed;
3.     Provide accurate and complete financial information;
4.     Provide all requested information and documentation in a timely manner, in accordance with the
       Chapter 7 Trustee Guidelines;
5.     Cooperate and communicate with your attorney;

                                                        3
      Case 23-02057-CL7            Filed 07/18/23      Entered 07/18/23 16:55:40       Doc 1    Pg. 36 of 41




6.       Discuss the objectives of the case with your attorney before you file;
7.       Keep the attorney updated with any changes in contact information, including email address;
8.       Keep the attorney updated on any and all collection activities by any creditor, including lawsuits,
         judgments, garnishments, levies and executions on debtor’s property;
9.       Keep the attorney updated on any changes in the household income and expenses;
10.      Timely file all statutorily required tax returns;
11.      Inform the attorney if there are any pending lawsuits or rights to pursue any lawsuits;
12.      Appear at the Section 341(a) Meeting of Creditors, and any continued Meeting of Creditors;
13.      Bring proof of social security number and government issued photo identification to the Section 341(a)
         Meeting of Creditors;
14.      Provide date-of-filing bank statements to the attorney no later than 7 days after filing of your case;
15.      Pay all required fees prior to the filing of the case;
16.      Promptly pay all required fees in the event post filing fees are incurred;
17.      Debtors must not direct, compel or demand their attorney to take a legal position or oppose a motion in
         violation of any Ethical Rule, any Rule of Professional Conduct, or Federal Rule that is not well
         grounded in fact or law.
Dated:    July 18, 2023                                      /s/ Houston Buehrle
                                                             Houston Buehrle
                                                             Debtor

Dated:    July 18, 2023                                      /s/ Ahren A. Tiller
                                                             Ahren A. Tiller 250608
                                                             Attorney for Debtor(s)




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           Case 23-02057-CL7                   Filed 07/18/23           Entered 07/18/23 16:55:40                   Doc 1        Pg. 37 of 41

B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                              Southern District of California revised plan 6/2016
 In re       Bindle Bottle LLC                                                                                Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 19,672.00
             Prior to the filing of this statement I have received                                        $                 19,672.00
             Balance Due                                                                                  $                       0.00

2.    $     338.00      of the filing fee has been paid.

3.    The source of the compensation paid to me was:

                  Debtor             Other (specify):

4.    The source of compensation to be paid to me is:

                  Debtor             Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached. .

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]


7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     July 18, 2023                                                            /s/ Ahren A. Tiller
     Date                                                                     Ahren A. Tiller 250608
                                                                              Signature of Attorney
                                                                              Bankruptcy Law Center
                                                                              1230 Columbia St., Suite 1100
                                                                              San Diego, CA 92101
                                                                              619-894-8831 Fax: 866-444-7026
                                                                              Name of law firm
        Case 23-02057-CL7                 Filed 07/18/23           Entered 07/18/23 16:55:40                   Doc 1        Pg. 38 of 41

CSD 1008 [08/21/00]
Name, Address, Telephone No. & I.D. No.
Ahren A. Tiller 250608
1230 Columbia St., Suite 1100
San Diego, CA 92101
619-894-8831
250608 CA

                  UNITED STATES BANKRUPTCY COURT
                   SOUTHERN DISTRICT OF CALIFORNIA
        325 West "F" Street, San Diego, California 92101-6991


In Re
Bindle Bottle LLC
                                                                                        BANKRUPTCY NO.



                                                                       Debtor.

                                                VERIFICATION OF CREDITOR MATRIX

PART I (check and complete one):

    New petition filed. Creditor diskette required.                                                         TOTAL NO. OF CREDITORS: 18

    Conversion filed on               . See instructions on reverse side.
             Former Chapter 13 converting. Creditor diskette required.                                      TOTAL NO. OF CREDITORS:
             Post-petition creditors added. Scannable matrix required.
             There are no post-petition creditors. No matrix required.

    Amendment or Balance of Schedules filed concurrently with this original scannable matrix affecting Schedule of Debts and/or Schedule of
    Equity Security Holders. See instructions on reverse side.
                       Names and addresses are being ADDED.
                       Names and addresses are being DELETED.
                       Names and addresses are being CORRECTED.

PART II (check one):

    The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my (our) knowledge.

    The above-named Debtor(s) hereby verifies that there are no post-petition creditors affected by the filing of the conversion of this case and that
    the filing of a matrix is not required.




Date:    July 18, 2023                                      /s/ Houston Buehrle
                                                            Houston Buehrle/Member
                                                            Signer/Title




                                               REFER TO INSTRUCTIONS ON REVERSE SIDE
CSD 1008
      Case 23-02057-CL7               Filed 07/18/23           Entered 07/18/23 16:55:40                    Doc 1        Pg. 39 of 41

CSD 1008 (Page 2) [08/21/00]
                                                             INSTRUCTIONS

1)    Full compliance with Special Requirements for Mailing Addresses (CSD 1007) is required.

2)    A creditors matrix with Verification is required whenever the following occurs:

      a)       A new petition is filed. Diskette required.

      b)       A case is converted on or after SEPTEMBER 1, 2000. (See paragraph 4b concerning post-petition creditors.)

      c)       An amendment to a case on or after SEPTEMBER 1, 2000, which adds, deletes or changes creditor address information on the
               debtor's Schedule of Debts and/or Schedule of Equity Security Holders. Scannable matrix format required.

3)    The scannable matrix must be originally typed or printed. It may not be a copy.

4)    CONVERSIONS:

      a)       When converting a Chapter 13 case filed before SEPTEMBER 1, 2000, to another chapter, ALL creditors must be listed on the
               mailing matrix at the time of filing and accompanied by a Verification. Diskette required.

      b)       For Chapter 7, 11, or 12 cases converted on or after SEPTEMBER 1, 2000, only post-petition creditors need be listed on the
               mailing matrix. The matrix and Verification must be filed with the post-petition schedule of debts and/or schedule of equity
               security holders. If there are no post-petition creditors, only the verification form is required. Scannable matrix format required.

5)    AMENDMENTS AND BALANCE OF SCHEDULES:

      a)       Scannable matrix format required.

      b)       The matrix with Verification is a document separate from the amended schedules and may not be used to substitute for any
               portion of the schedules. IT MUST BE SUBMITTED WITH THE AMENDMENT/BALANCE OF SCHEDULES.

      c)       Prepare a separate page for each type of change required: ADDED, DELETED, or CORRECTED. On the REVERSE side of
               each matrix page, indicate which category that particular page belongs in. Creditors falling in the same category should be placed
               on the same page in alphabetical order.

6)    Please refer to CSD 1007 for additional information on how to avoid matrix-related problems.




CSD 1008
    Case 23-02057-CL7   Filed 07/18/23   Entered 07/18/23 16:55:40   Doc 1   Pg. 40 of 41



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                         PO Box 981537
                         El Paso, TX 79998-1535



                         Apple Card-GS Bank
                         11850 S. Election Rd.
                         Draper, UT 84020



                         Bank of Southern California
                         12265 El Camino Real, Ste. 100
                         San Diego, CA 92130



                         Betty Miranda LLC
                         5931 Sea Lion Place, Ste. 110
                         Carlsbad, CA 92010



                         California Dept of Tax and Fee
                         P.O. Box 942879
                         Sacramento, CA 94279



                         Corporation Service Company
                         801 Adlai Stevenson Dr.
                         Springfield, IL 62703



                         Corporation Services Company
                         P.O. Box 2576
                         Springfield, IL 62708



                         Dane Chapin
                         2532 La Costa Ave.
                         Carlsbad, CA 92009



                         Florida Dept of Revenue
                         2450 Shumard Oak Blvd
                         Tallahassee, FL 32399
Case 23-02057-CL7   Filed 07/18/23   Entered 07/18/23 16:55:40   Doc 1   Pg. 41 of 41




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